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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                                Plaintiff,              )
                                                        )
                        v.                              )       CAUSE NO. 1:09-cr-115-2 WCL
                                                )
JACOB ALLGEIER                                          )
                                                        )
                                Defendant.              )


                               ACCEPTANCE OF PLEA OF GUILTY,
                                ADJUDICATION OF GUILTY AND
                                   NOTICE OF SENTENCING

        Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which the

defendant has waived objection, and subject to this Court's consideration of the Plea Agreement pursuant

to Fed. R. Crim. P. 11(e)(2), the plea of guilty of the offenses charged the indictment is hereby accepted,

and the defendant is adjudged guilty of such offenses. The defendant and his counsel shall appear before

the undersigned for sentencing on the 18th day of October , 2010, at 11:00 a.m. Any sentencing

memoranda or motions related to sentencing shall be filed no later than ONE WEEK prior to

sentencing. The attention of the parties is directed to the timetable outlined in the Presentence

Scheduling Notice attached hereto. If counsel are unable to comply with this timetable, they shall obtain

an extension of the filing deadline from the court.

        If objections to the to the pre-sentence report are not timely filed, thereby affording the court an

adequate opportunity to review said objections, the sentencing hearing MUST BE CONTINUED.

Accordingly, if defense counsel wishes to present an objection to the court, and said objection has not been

timely filed, it will be the responsibility of said counsel to file a motion for continuance of the sentencing,
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and provide to the court a full recitation of the reasons why the objection or objections were not timely

filed.

         IT IS SO ORDERED this      14th day of July , 2010



                                              /s/William C. Lee
                                              William C. Lee, Judge
                                              United States District Court
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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                    FORT WAYNE DIVISION

United States of America,

                 vs.                           Criminal No. 1:09-cr-115-2 WCL

Jacob Allgeier

                 Defendant.

                              PRESENTENCE SCHEDULING NOTICE


 Date of Referral to Probation Officer:                               June 29, 2010
                                                                  (Date of Plea or Verdict)


 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                           September 13, 2010
                                                                (35 Days Before Sentencing)


 Counsel’s Written Objections or Acknowledgment of
 No Objections to the Pre-Sentence Report Shall be
 Delivered to the Probation Officer and Opposing
 Counsel no Later Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the
 Court and Disclosed to Counsel no Later Than:                      October 8, 2010
                                                                (10 Days Before Sentencing)


 Judgment and Sentencing Date:                                     October 18, 2010
                                                            (At Least 70 Days After Plea or Verdict)


Any sentencing memoranda or motions related to sentencing shall be filed no later than ONE
WEEK prior to sentencing
